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 7
                       UNITED STATES BANKRUPTCY COURT
 8                           DISTRICT OF NEVADA
 9

10   In re Kevida Turner,                 )   Case No.: 15-16646-ABL
                                          )   Chapter 7
11                                        )
                    Debtor.               )
12                                        )   Hearing date: January 20, 2016
                                          )   Hearing time: 10:30 a.m.
13                                        )
                                          )   MOTION FOR RELIEF FROM
14                                        )   AUTOMATIC STAY
                                          )
15

16

17
          COMES NOW Mona Ng, landlord to Debtor, and respectfully
18

19   requests an Order of this Court pursuant to 11 USC 362 relieving

20   the landlord from the automatic stay to enforce an existing
21
     Summary Eviction Order in favor of Movant against Debtor, for
22
     the property located at 10503 Miner’s Gulch. In support of this
23
     Motion, Movant states as follows:
24

25                            LEGAL BASIS FOR RELIEF

26        On request of a party in interest and after notice and a
          hearing, the court shall grant relief from the stay…
27
          (1)for cause, including the lack of adequate protection of
28        an interest in property of such party in interest;



                        MOTION FOR RELIEF FROM AUTOMATIC STAY - 1
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 1         (2)with respect to a stay of an act against property under
           subsection (a) of this section, if—
 2
           (A)the debtor does not have an equity in such property; and
 3         (B)such property is not necessary to an effective
           reorganization.
 4

 5
     11 USC 362(d).
 6
          A.   Debtor has not provided adequate protection for the
 7   property or taken steps to preserve the tenancy.
 8
           Debtor’s residence at 10503 Miner’s Gulch, Las Vegas, NV,
 9
     is a rental property owned by Mona Ng and managed by Ameropan
10
     Realty. Debtor occupies the residence under a month to month
11

12   tenancy which costs $1,460 per month.

13         Debtor has not paid rent since September, 2015, and became
14
     delinquent in October, 2015. As a result, Ameropan Realty on
15
     behalf of the landlord, Mona Ng, moved for summary eviction. A
16
     copy of the Las Vegas Justice Court docket is attached to
17

18   Movant’s Motion to Dismiss, on file herein as Docket 16.

19         Debtor opposed the eviction but failed to appear in court
20
     on the scheduled date. The eviction order was entered and Debtor
21
     appealed.
22
           Judge Ron Israel upheld the eviction, finding no valid
23

24   defenses exist to payment of rent and for Debtor’s failure to

25   appear in Justice Court below. A copy of Judge Israel’s Order is
26
     attached to Movant’s Motion to Dismiss, on file herein as Docket
27
     16.
28



                         MOTION FOR RELIEF FROM AUTOMATIC STAY - 2
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 1        Thereafter, the eviction order was transmitted to the
 2
     Constable for execution. A few days later, Debtor petitioned
 3
     this Court for relief. Id.
 4
          This Movant moved to dismiss this case, and the Motion to
 5

 6   Dismiss is pending concurrently. Although Movant believes that

 7   the Summary Eviction Order is exempt from the stay pursuant to
 8
     11 USC 362(b)(2), this Motion is made both out of caution and
 9
     because the Constable will not proceed without an Order of this
10
     Court.
11

12        Debtor has failed to make arrangements to become current on

13   her tenancy, to deposit rent with the Court, or otherwise
14
     indicate that she intends to become current. This is reflected
15
     in the 362 information sheet, which evidences that efforts were
16
     made to resolve this matter prior to the filing of this Motion.
17

18        In failing to make current or past rental payments, the

19   landlord is without adequate protection for the property. See,
20
     e.g., In re DeSantis, 66 B.R. 998 (E.D. Pa. 1986). Movant
21
     submits that appropriate adequate protection would consist of
22
     timely monthly payments in the amount of $1,460. On this basis
23

24   alone, relief from stay is warranted.

25

26

27

28



                        MOTION FOR RELIEF FROM AUTOMATIC STAY - 3
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 1        B.   Debtor has no equity in the property and it is not
 2
     necessary for an effective reorganization.
 3
          Debtor is not the owner of the property at issue. Assessor
 4
     Records, attached hereto as Exhibit “A.” Movant respectfully
 5

 6   requests that the Court take notice of the Clark County Assessor

 7   records which show current ownership of the property.
 8
          Debtor’s schedules and statements, on file herein as Docket
 9
     20, indicate both that she does not own the property at issue in
10
     this motion, and that she has no available income to make
11

12   ongoing payments.

13        Furthermore, because this is a Chapter 7 case, there is no
14
     reorganization forecasted or expected. Together, the lack of
15
     equity and the impossibility of reorganization entitle Movant to
16
     relief from stay with respect to the rental property at issue.
17

18        C.   Conclusion

19        Creditor Mona Ng respectfully requests an Order of this
20
     Court terminating the automatic stay pursuant to 11 USC 362, to
21
     allow Movant to enforce its rights in the property, including to
22
     proceed with the Summary Eviction; and that the 14-day stay
23

24   described by Bankruptcy Rule 4001(a)(3) be waived to allow

25   Movant to proceed immediately, as state law otherwise allows
26
     pursuant to the Eviction Order.
27

28



                         MOTION FOR RELIEF FROM AUTOMATIC STAY - 4
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 1        In the alternative, should the Court decline to grant this
 2
     Motion, Movant requests and Order for adequate protection which
 3
     requires Debtor reinstate and maintain in current condition all
 4
     obligations due under her month-to-month tenancy.
 5

 6        In any event, Movant requests that Court waive the

 7   requirements of Local Rule 9021, and to order such further
 8
     relief as the Court deems just and proper.
 9
                                           Dated this 16th day of December,
10                                         2015.
11
                                              /s/ Valerie Del Grosso, Esq.
12                                            Valerie Del Grosso, Esq.
                                              Del Grosso Law, Ltd.
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                        MOTION FOR RELIEF FROM AUTOMATIC STAY - 5
